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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division
                                                                                           •A

 UNITED STATES OF AMERICA
                                                         No. l:16-cr-163
                V.



 MOHAMED BAILOR JALLOH,

                Defendant.



                                    STATEMENT OF FACTS

       The United States and the defendant, MOHAMED BAILOR JALLOH, agree that the

United States would have proven at trial the following facts beyond a reasonable doubt with

admissible and credible evidence.

       1.      Beginning in or about June 2015, and continuing thereafter until July 3, 2016,

within Loudoun County Virginia in the Eastern District of Virginia and elsewhere, including
locations outside ofthe United States, defendant MOHAMED BAILOR JALLOH did unlawllilly
and knowingly attempt to provide "material support or resources," as that term is defined in Title

18, United States Code, Section 2339A(b), to wit, personnel to the Islamic State of Iraq and the
Levant ("ISIL"), the service of attempting to procure a weapon which he believed would be used

in an ISIL directed attack on U.S. soil, and money to support ISIL, which at allrelevant times was

designated by the Secretary of State as a foreign terrorist organization pursuant to Section 219 of
the Immigration and Nationality Act, knowing that ISIL was a designated foreign terrorist
organization, that ISIL engages and has engaged in terrorist activity, and that ISIL engages and
has engaged in terrorism.
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